Case Z:GO‘-WrAEUOBWLUDB\N'DOUQmem158€0Ei|eti|i-Q8~{iliBi/<Ql§si:il:’age 1 Of 2 Page|D 64

 

 

 

 

 

i. CiR.misT./l)iv. Com: 2. PERSON REPRESENTED vouciian NUMBER

TNW Hams, Dclois

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2;00-020033-001- ~ '~j i`
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U. . v. Hams Felony Adult Defendant Supervlsed Release it ll Uf‘

 

 

 

 

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12. ATTORNi:Y'_s NAME crim same M.i., mo ama including any minn 13. collar oanaa L"rl`»'.‘
AND MAlL]i`G ADDRESS |E 0 Appointing C¢iunsc| m C Co-Counse| 4
FLOYD, MICHAEL g F Subs For Federll Del`ender 5 R Suhs Fnr Relainetl Attnrney
2129 WINCHESTER RD \:l P Suhs Fnr Pallel Attorney m V Standhy Counsel
MEMPHIS TN 381 16 Prior Attnrney's Name:

 

Appointment |]ate:

%Because the above-named person represented has testified under oath or has
t erwise satisfied this court that he or she {l) is financially unah|e tu employ counsel and
Telpphom. Numher: {90 ]) 345 ' 8009 (1} does not wish to waive counse|, and because the interests of]urtice so require, the

y attorney whose name appears in Ilem 12 is a ointed to represent th's rson in this case,
14. ]\ AME AND MA]LlNG ADDRESS OF LAW FlRM (on|y provide per instructinns} pp l rm

§ . Z¢Ww~

 

 

  

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Repayment or partial repayment ordered from the person represented For this service at
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h. Other (Specify on additional sheets)
(Rate per hour = $ ] TOTALS:
16. a. Inter\'icws and Cont'erences
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same rooms _ (cmmeo m§nwsram w . . , .
l9. CERTII"ICA'HON OF ATTORNEY!PAYEE FOR THE PERIOD 0 F SERWCE 20. APPO!NTMENT TERM|NAT|ON DATE 11. CASE DISPU SITlON
IF OTHER THAN CASE CUMPLETION
FROM % T()
22. CI.AIM STATL`S l:] Final Paymenl g lnlen'rn Payment Numher [:I Supp|emental Paymenl
Have you previously applied to the court t'tr compensation andt'nr remimbnrsement l'or this case'.’ m YES I:I NO li`yes, were you paid'.’ [] YES ‘:l NO
Other than from the court, have you` nr toyo\lr knowledge has anyone else, received payment (compensatinn or anything or value) from any other source ill connection with this
representation? \:\ YES l:\ N() lfyes, give details on additional sheets.

l swear or affirm the truth or correctness ofthe above statements.

  
 
 

 

 

 

   

 

 

 

 

 

 

Signature ol'Atturne " Date:
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23. lN COURT COMP. 24. OU'I` Ol" CC|URT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 174 TOTAL AMT. APPR l CERT
ZS. SICNATL'RE, OF THE PRESlDlNG JUD[C]AL OFFICER DA'I`E lea. JUDCE l MAG. .ll.`DGF. C`OLIE
19. 1.\' COURT COMP. 30. OUT OF` COURT CO.\1P. 31, TRAVEI. EXPENSES 32~ O'l`HER EXPENSES JJ. TOTAL AMT. APPR()VED
34. SIGNAT[_JRE OF Cllll':}" JUDGF., COURT OF APP EALS (OR DELEGATE) Fayment DA'I'E 3-ta. JUDGE CODE
approved in excess oltlie statutory threshold amountv

 

 

 

 

 

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Honorablc J. Breen
US DISTRICT COURT

